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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Brandon J Iskander
Shulman Bastian LLP
3550 Vine Street Ste 210
Riverside, CA 92507

951−275−9300




Plaintiff or Attorney for Plaintiff

                                          UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA − RIVERSIDE
In re:

                                                                              CASE NO.:    6:18−bk−16043−WJ

Cosmedx Science Inc.                                                          CHAPTER:     7


                                                                              ADVERSARY NUMBER:         6:19−ap−01156−WJ
                                                               Debtor(s).

Lynda T. Bui


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Randy B. Scheib                                                                      PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
12/13/2019. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                February 6, 2020
             Time:                10:30 AM
             Hearing Judge:       Wayne E. Johnson
             Location:            3420 Twelfth St., Crtrm 304, Riverside, CA 92501



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: November 13, 2019




                                                                                        By:        "s/" Yvonne Gooch
                                                                                                   Deputy Clerk




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                                                    ATTACHMENT A
                                             Names of plaintiffs and defendants



Plaintiff(s):                                                               Defendant(s):

Lynda T. Bui                                                                Randy B. Scheib
                                                                            Frank Robert Allan Scheib
                                                                            G. Nicholas Wayne Scheib
                                                                            S−3 Investment Group, LLC
                                                                            Frank Scheib
                                                                            Robert Scheib
                                                                            Nick Scheib




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                                                            ATTACHMENT A
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618

A true and correct copy of the foregoing document entitled (specify): SUMMONS AND NOTICE OF STATUS
CONFERENCE IN ADVERSARY PROCEEDING AND COMPLAINT will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 14, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

CHAPTER 7 TRUSTEE/PLAINTIFF: Lynda T. Bui (TR) trustee.bui@shulmanbastian.com, C115@ecfcbis.com
COUNSEL FOR CHAPTER 7 TRUSTEE/PLAINTIFF: Brandon J Iskander biskander@shulmanbastian.com,
avernon@shulmanbastian.com
INTERESTED PARTY: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                        Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) November 14, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Judge’s Copy
Honorable Wayne Johnson
United States Bankruptcy Court
3420 Twelfth Street, Suite 384
Riverside, CA 92501

                                                                                        Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 30, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                        Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  November 14, 2019                       Anne Marie Vernon                                     /s/ Anne Marie Vernon
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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                                                          U.S. MAIL SERVICE LIST

Defendant
Randy B. Scheib
7940 E. Camelback Road, Unit 310
Scottsdale, AZ 85251-2636

Defendant
Frank Robert Alan Scheib
aka Frank Scheib aka Robert Scheib
1931 Market Center Blvd, Suite 1201
Dallas, TX 75207

Frank Robert Alan Scheib
aka Frank Scheib aka Robert Scheib
801 S. Financial Place, Apt. 501
Chicago, IL 60605-1787

Defendant
G. Nicholas Wayne Scheib
aka Nick Scheib
1931 Market Center Blvd, Suite 1201
Dallas, TX 75207

G. Nicholas Wayne Scheib
aka Nick Scheib
851 Lake Carolyn Parkway, Apt. 432
Irving, TX 75039-4123

Defendant
S-3 Investment Group, LLC
c/o Robert F. Edens, Statutory Agent
14213 S. 32nd Street
Phoenix, AZ 85044

S-3 Investment Group, LLC
c/o Randy B. Scheib, Manager
601 S. Farmer Ave, Unit 13
Tempe, AZ 82581

S-3 Investment Group, LLC
c/o Frank Scheib, Member/Partner
7940 E. Camelback Road, Suite 310
Scottsdale, AZ 85251

Interested Party
S-3 Investment Group, LLC
c/o Neal Bookspan, Esq.
Laura Rogal, Esq.
Jaburg & Wilk, P.C.
3200 N. Central Avenue, 20th Floor
Phoenix, AZ 85012

        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
